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                                1   BUCHALTER
                                    A Professional Corporation
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                                5
                                    Attorneys for Defendants
                                6   ONE TOUCH DIRECT, LLC, and
                                    ONETOUCH DIRECT- SAN ANTONIO LLC
                                7

                                8                                 UNITED STATES DISTRICT COURT

                                9                                NORTHERN DISTRICT OF CALIFORNIA

                           10       ROBERT ROSS,                                  Case No. 4:19-cv-6669
                           11                       Plaintiff,                    CERTIFICATE OF INTERESTED
                                                                                  ENTITIES OR PERSONS OF
                           12               vs.                                   DEFENDANTS ONE TOUCH DIRECT,
                                                                                  LLC AND ONETOUCH DIRECT – SAN
                           13       AT&T MOBILITY, LLC, ONE TOUCH                 ANTONIO LLC PURSUANT TO CIVIL
                                    DIRECT, LLC, and ONE TOUCH DIRECT-            LOCAL RULE 3-15
                           14       SAN ANTONIO, LLC,
                           15                       Defendant.
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      BUCHALTER
A PROFES SION AL CORPORAT ION
        SACR AMENTO                  CERTIFICATE OF INTERESTED ENTITIES OR                                Case No. 4:19-cv-6669
                                     PERSONS
                                    BN 43939055v2
                                       Case 4:19-cv-06669-JST Document 83 Filed 01/29/21 Page 2 of 2



                                1           Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,
                                2   associations of persons, firms, partnerships, corporations (including parent corporations) or other
                                3   entities (i) have a financial interest in the subject matter in controversy or in a party to the
                                4   proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be
                                5   substantially affected by the outcome of this proceeding:
                                6           1.      Defendant AT&T Mobility, LLC;
                                7           2.      Plaintiff Robert Ross;
                                8           3.      Defendant OneTouch Direct – San Antonio, LLC is a subsidiary of Defendant One
                                9   Touch Direct, LLC; and
                           10               4.      Defendant One Touch Direct, LLC has the following members with a financial
                           11       interest: Mole Holdings, Inc., Reed Holdings, Inc., Inteliservices, Inc., and OTD Holding
                           12       Company, Inc.
                           13               Of the companies and individuals listed above, none of the companies are publicly traded
                           14       companies.
                           15       DATED: January 29, 2021                         BUCHALTER
                                                                                    A Professional Corporation
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                           17
                                                                                    By: /s/ Alissa R. Pleau-Fuller
                           18                                                                        KEVIN T. COLLINS
                                                                                                ALISSA R. PLEAU-FULLER
                           19                                                                      Attorneys for Defendants
                                                                                           ONE TOUCH DIRECT, LLC, and ONE
                           20                                                            TOUCH DIRECT- SAN ANTONIO, LLC
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      BUCHALTER                                                                         2
A PROFES SION AL CORPORAT ION
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                                     PERSONS
                                    BN 43939055v2
